Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 1 of 58 PageID #: 1708




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                     Terre Haute Division


  ROGER TODD,                                  )
                                               )
                  Plaintiff,                   )
                                               )
          v.                                   )                Case No.     2:19-cv-85-JMS-DLP
                                               )
  OCWEN LOAN SERVICING, INC., and              )
  DEUTSCHE BANK NATIONAL TRUST CO., as )
  Trustee for NovaStar Mortgage Funding Trust, )
  Series 2007-1 ,                              )
                                               )
                Defendants.                    )

   PLAINTIFF’S SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, Roger Todd (“Todd”), by counsel, complains of Defendants, Ocwen Loan

  Servicing, LLC. (“Ocwen”) and Deutsche Bank National Trust Co., as Trustee for NovaStar

  Mortgage Funding Trust, series 2007-1 (“Deutsche Bank”), as follows:

                                          INTRODUCTION

         1.      Through no fault of his own, Todd lives in fear of losing his home despite making

  over 87 consecutive timely and adequate monthly mortgage payments. This is because the

  recipient of the funds has and continues to hold him in a manufactured state of default. In so

  doing, and in abusively attempting to collect amounts Todd does not actually owe, Ocwen has

  violated nearly every consumer protection statute in existence and blatantly disregarded Orders

  and protections put in place by judges within this very district.

                                PARTIES, JURISDICTION, AND VENUE

         2.      Todd is the owner of real property and improvements located at and commonly

  known as 8800 E. Washboard Road, Solsberry, Indiana 47459 (the “Home”).

                                                    1
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 2 of 58 PageID #: 1709




         3.      Todd purchased the Home on or about April 16, 2002, as his primary residence

  and financed that purchase by a loan evidenced by a note (the “Note”) and a mortgage allegedly

  securing the Note (the “Mortgage”) (collectively, the “Loan”).

         4.      The Loan was originated by NovaStar Mortgage, Inc., (“NovaStar”) and

  subsequently placed in a mortgage-backed security guaranteed by Fannie Mae.

         5.      Ocwen has been a “servicer” of Todd’s mortgage as that term is defined by 12

  U.S.C. § 2605(i)(2).

         6.      Ocwen is a wholly owned and operated subsidiary of Ocwen Financial

  Corporation and is a limited liability company incorporated under the laws of the State of

  Delaware.

         7.      Ocwen is one of the largest non-bank mortgage servicers in the United States.

  Ocwen services mortgage loans in all 50 states, including Indiana.

         8.      At all times relevant herein, Ocwen acted and acts as the agent of, and loan

  servicer for, Deutsche Bank. As a loan servicer, Ocwen is a partial assignee of the Loan.

         9.      Deutsche Bank is the trustee for NovaStar. Deutsche Bank is a federally

  chartered National Bank with a primary business location of 60 Wall Street, New York, New

  York 10005.

         10.     Jurisdiction of claims against Ocwen and Deutsche Bank are conferred by 28

  U.S.C. §1331 as this action arises under the Dodd-Frank Wall Street Reform and Consumer

  Protection Act, the Real Estate Settlement Procedures Act, 12 U.S.C. §2601, et seq. (the

  “RESPA”), the Fair Debt Collection Practices Act, 15 U.S.C. §1692, et seq. (the “FDCPA”), the

  Telephone Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”), and the Truth In Lending

  Act, 15 U.S.C. § 1639 (the “TILA”). This action is specifically filed to enforce regulations



                                                  2
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 3 of 58 PageID #: 1710




  promulgated by the Consumer Finance Protection Bureau (the “CFPB”), which became effective

  on January 10, 2014, and specifically, 12 C.F.R. §1024.35 and §1024.36 of Regulation X.

         11.     This Court has supplemental jurisdiction to hear all state law claims pursuant to

  28 U.S.C. §1367.

         12.     Venue is proper pursuant to 28 U.S.C. § 1391 because the property that is the

  subject of the action, the Home, is located in this District.

                                SUMMARY OF FEDERAL CLAIMS

                                         The RESPA & Reg. X

         13.     RESPA, originally enacted in 1974, was designed to ensure consumers in real

  estate transactions receive timely information on the nature and costs of the loan settlement

  process and to protect them from abusive lending practices.

         14.     The Cranston-Gonzalez National Affordable Housing Act of 1990 expanded the

  scope of RESPA by addressing mortgage servicer practices.

         15.     In response to evidence of additional servicer abuses during the preceding

  mortgage crisis, RESPA was amended in 2010 by the Dodd-Frank Act to further expand on the

  aforementioned protections.

         16.     RESPA’s provisions relating to loan servicing are to be construed liberally so as

  to carry out the statue’s remedial consumer protection purpose. Medrano v. Flagstaff Bank, 704

  F.3d 661, 665 (9th Cir. 2012).

         17.     In January of 2013, the CFPB issued several final rules concerning mortgage

  markets in the United States, pursuant to the Dodd-Frank Act, Public Law No. 111- 203, 124

  Stat. 1376 (2010).




                                                     3
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 4 of 58 PageID #: 1711




         18.     Specifically, the CFPB issued the RESPA Mortgage Servicing Final Rules, 78

  F.R. 10695 (Regulation X) (February 14, 2013), which became effective on January 10, 2014.

         19.     The Loan in the instant matter is a “federally related mortgage loan” as said term

  is defined by 12 C.F.R. §1024.2(b).

         20.     Ocwen is subject to the aforesaid regulations and does not qualify for the “small

  servicers” exception, as such term is defined in 12 C.F.R. §1026.41(e)(4), nor the exemption for

  a “qualified lender,” as such term is defined in 12 C.F.R. §617.700.

         21.     Todd asserts a private right of action under RESPA pursuant to 12 U.S.C.

  §2605(f) for the claimed breaches of the specific rules set forth under Regulation X.

                                             The FDCPA

         22.     Congress enacted the FDCPA to prohibit the “[u]se of abusive, deceptive, and

  unfair debt collection practices.” 15 U.S.C §1692a.

         23.     The FDCPA applies to debt collectors, not original creditors. Ocwen is a “debt

  collector” as defined by 15 U.S.C. § 1692a(6) as it obtained servicing rights to the Loan and

  began servicing the Loan after it was in default.

         24.     Todd is a “consumer” as defined by 15 U.SC. § 1692a(3), and the Loan is a debt

  as defined by 15 U.SC. § 1692A(4).

         25.     Todd asserts a private right of action under the FDCPA pursuant to 15 U.S.C.

  §1692k, for Ocwen’s willful or deliberately indifferent conduct in connection with collection of

  the Loan.




                                                      4
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 5 of 58 PageID #: 1712




                                                 The FCRA

          26.     United States Congress has found that the banking system is dependent on fair and

  accurate credit reporting. Inaccurate credit reports directly impair the efficiency of the banking

  system, and unfair credit reporting methods undermine the public confidence, which is essential to

  the continued functioning of the banking system. Congress enacted the FCRA to insure fair and

  accurate reporting, promote efficiency in the banking system, and protect consumer privacy.

          27.     The Consumer Data Industry Association (the “CDIA”) is an international trade

  association, representing over 140 members involved in credit reporting, mortgage

  reporting, check verification, tenant and employment screening, collection services, and fraud

  verification services. The CDIA is active in both federal and state legislative affairs, public

  relations, education, and the promulgation of industry standards.

          28.     Because consumer credit reporting information is such sensitive data that has far

  reaching implications for most, if not all, consumers, the CDIA works to develop, maintain and

  enhance industry-standard reporting formats and guidelines. In cooperation with Trans Union

  LLC, Experian Information Services, LLC, Experian Information Solutions, Inc., and Innovis Data

  Solutions, Inc., the CDIA publishes the Metro 2 reporting standards (the “Metro 2 Standards”) to

  assist data furnishers like Ocwen with compliance requirements under the FCRA. The CDIA’s

  reporting products are used in more than nine billion transactions each year. See

  http://www.cdiaonline.org/about/index.cfm?unItemNumber=515.

          29.     The uniform adoption and implementation of the Metro 2 Standards is the primary

  vehicle by which Credit Reporting Agencies (“CRAs”) and data furnishers ensure that they are

  following their duties to ensure that they maintain complete and accurate information under the

  FCRA.



                                                      5
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 6 of 58 PageID #: 1713




          30.     The Metro 2 Standards provide uniformity in the reporting and interpretation of

  credit data, including credit risk scoring.

          31.     The major national CRAs – Trans Union LLC, Experian Information

  Services, LLC, and Experian Information Solutions, Inc., – also collaborated and developed a

  browser-based software system that allows the CRAs to electronically notify furnishers easily and

  quickly of disputed credit reporting information, and for furnishers to easily and quickly respond to

  such disputes following investigation. The system is commonly referred to as e-OSCAR and was

  designed to be Metro 2 compliant. See http://www.e-oscar.org/.

          32.     The e-OSCAR system primarily supports Automated Credit Dispute

  Verification (“ACDV”) and Automated Universal Dataform (“AUD”) processing, as well as other

  various related data reporting processes.

          33.     ACDVs are notifications initiated by a CRA, and transmitted to a furnisher, in

  response to a consumer dispute. ACDVs are the primary method the CRAs use to fulfill their

  statutory obligation to notify furnishers of disputed information of consumers’ disputes.

          34.     One such entity that regularly reviews consumer reports, and uses the data contained

  therein, is the Fair Isaac Corporation. The Fair Isaac Corporation credit risk scoring system,

  commonly referred to as FICO, is the leading credit risk scoring system, and utilizes data reported by

  credit reporting agencies and furnishers which are, ostensibly, in compliance with Metro 2

  Standards.

          35.     FICO scores are calculated from five main categories of credit data in a

  consumer’s credit report. Those categories, and their weighted values, are as follows: payment

  history accounts for 35% of a consumer’s FICO score; debt/amounts owed accounts for 30% of

  a consumer’s FICO score; age/length of credit history accounts for 15% of a consumer’s FICO



                                                     6
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 7 of 58 PageID #: 1714




  score; new credit/recent inquiries accounts for 10% of a consumer’s FICO score; and, mix of

  accounts/types of credit accounts for 10% of a consumer’s FICO score. See

  www.myfico.com/credit-education/whats-in-your-credit-score/.

          36.     The cost of credit (e.g., interest rates, fees, etc.), the availability of credit, and even

  unsolicited credit offers, such as the opportunity to refinance a mortgage at a lower interest rate,

  extended financing periods and lower rate auto loans, and zero-percent financing credit offers for

  in-store credit lines, are all, by and large, driven by a consumer’s FICO score.

          37.     Inaccurate or incorrect credit reporting often results in a lower FICO score, and thus

  higher costs of credit, diminished opportunity, and less purchasing power for consumers. The

  improper reporting of a mortgage tradeline has a particularly adverse effect on a consumer like

  Todd’s credit score as it represents the largest and oldest active debt obligation in his credit history.

          38.     Ocwen regularly and in the ordinary course of business furnished information to one

  or more consumer reporting agency about Todd’s transactions and is therefore a “furnisher” as that

  term is used in 15 U.S.C.A. § 1681s-2.

          39.     Todd asserts a private right of action under the FCRA pursuant to 15 U.S.C.A. §

  1681s-2(b) for Ocwen’s willful or deliberately indifferent acts and omissions in reporting

  information regarding the Loan and in failing to conduct reasonable investigate disputed information.

                                                  The TCPA

          40.     The TCPA was enacted to protect individuals from the harassment, annoyance and

  abuse of unsolicited telephone calls made to their cellphones through the use of automatic telephone

  dialing systems ("ATDS") or automated/pre-recorded voices ("Robocalls").




                                                       7
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 8 of 58 PageID #: 1715




         41.     To accomplish this purpose, the TCPA authorizes a “person” to bring a private cause

  of action against callers who make “any call using an automatic telephone dialing system or

  prerecorded voice to any telephone number assigned to a ….cellular telephone...” See 47 U.S.C.

  §227(b)(1)(A)(iii). The TCPA’s definition of an automatic telephone dialing system includes a

  “predictive dialer.” Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637 (7th Cir. 2012).

         42.     According to findings by the Federal Communication Commission (“FCC”), the

  agency Congress vested with authority to issue regulations implementing the TCPA, such calls

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a

  greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

  and inconvenient. The FCC also recognized that wireless customers are charged for incoming

  calls whether they pay in advance or after the minutes are used. Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278, Report

  and Order, 18 FCC Rcd 14014 (2003).

         43.     On January 4, 2008, the FCC issued a Declaratory Ruling confirming that

  autodialed calls and calls using an artificial voice or pre-recorded message to a wireless number

  by a creditor or on behalf of a creditor are permitted only if the calls are made with the “prior

  express consent” of the called party. In the Matter of Rules and Regulations Implementing the

  Telephone Consumer Protection Act of 1991 (“FCC Declaratory Ruling”), 23 F.C.C.R. 559, 23

  FCC Rcd. 559, 43 Communications Reg. (P&F) 877, 2008 WL 65485 (F.C.C.) (2008).

         44.     The FCC “emphasize[d] that prior express consent is deemed to be granted only if

  the wireless number was provided by the consumer to the creditor, and that the number was

  provided during the transaction that resulted in the debt owed.” FCC Declaratory Ruling, 23

  F.C.C.R. at 564-65 (¶10).



                                                    8
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 9 of 58 PageID #: 1716




         45.     Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the

  burden is on Ocwen to demonstrate that Todd gave his express consent to Ocwen to use an

  autodialer to call his cell phone within the meaning of the statute. See FCC Declaratory Ruling,

  23 F.C.C.R. at 565 (¶ 10). However, even when consent is determined to have been given, it can

  be revoked.

         46.     Directly as well as through its subsidiaries, contractors and agents, Ocwen

  employs hundreds of persons at various call centers throughout the country. These calling

  centers use automatic telephone dialing systems and computerized account information to track,

  record, and maintain the hundreds of thousands of debts collected by Ocwen.

         47.     A significant portion of Ocwen’s business operations are dedicated to servicing

  consumer loans that are in default, foreclosure, or were involved in a bankruptcy proceeding.

         48.     Ocwen’s regular business practices include making repeated phone calls, as

  well as sending notices, statements, bills, and other written correspondence to persons like Todd

  who it believes responsible for paying allegedly past due amounts. Part of Ocwen’s strategy for

  servicing consumer loans involves the use of an ATDS and/or Robocalls.

         49.     Ocwen uses ATDS equipment and software that has the capacity to store or

  produce telephone numbers to be called and which includes auto-dialers and predictive dialers.

         50.     Ocwen has made calls using an ATDS and/or Robocalls to Todd’s cellular

  telephone even though he did not provide express prior consent to receive such calls, or Todd

  revoked any alleged consent thereafter.

                             Todd’s Chapter 13 Bankruptcy Proceeding

         51.     On March 4, 2011, Todd filed a bankruptcy case pursuant to Chapter 13 of the




                                                  9
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 10 of 58 PageID #: 1717




  United States Bankruptcy Code in the United States Bankruptcy Court for the Southern District

  of Indiana, Case No. 11-80256-JJG-13 (the “Bankruptcy Case”).

         52.     Todd filed the Bankruptcy Case to cure all pre-petition defaults on the Loan.

         53.     Shortly after filing, Todd proposed a Chapter 13 Plan (the “Chapter 13 Plan”),

  which was amended on April 19, 2011. [Filing No. 16].

         54.     On September 13, 2011, the Bankruptcy Court entered an Order Confirming

  Amended Chapter 13 Plan Filed April 19, 2011. [Filing No. 40].

         55.     Pursuant to the confirmed Chapter 13 Plan, Todd was to make regular monthly

  payments of $990.00 to the Chapter 13 Trustee, from which Ocwen would receive approximately

  $583.57 per month to maintain the monthly payments it was owed, plus an additional sum to

  address all arrearage (originally estimated by Todd to be $20,000.00).

         56.     Ocwen appeared in the Bankruptcy Case and participated by means of the filing

  of its Proof of Claim (Claim No. 4 dated March 14, 2011) [Claim Filing No. 4-1] on behalf of

  Deutsche Bank.

         57.     The Proof of Claim asserted a secured claim in the amount of $77,640.83 and an

  arrearage claim of $22,106.24 which included: (a) escrow charges of $324.65; (b) pre-petition

  attorney fees and costs of $2,205.28; (c) property preservation fees of $60.00; (d) inspection fees

  of $118.50; (e) appraisal fees of $120.00; and (f) a breach fee of $7.00.

         58.     On November 16, 2011, Ocwen’s predecessor in interest, Saxon Mortgage

  Services, Inc., filed a Notice of Payment Change. [Filing No. 42].

         59.     This was the only Notice of Payment Change filed during the Bankruptcy Case.

         60.     From March 4, 2011 to April 12, 2017, Todd made timely and adequate payments

  to the Trustee in accordance with the terms of the Chapter 13 Plan.



                                                  10
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 11 of 58 PageID #: 1718




         61.     A true and accurate copy of the Trustee’s payment ledger reflecting the amounts

  and date of disbursements to Ocwen is attached hereto as “Exhibit A”.

         62.     On May 2, 2016, the Chapter 13 Trustee filed a Notice of Final Cure Payment

  [Doc. 123] pursuant to FRBP § 3002.1(f), stating the amount to cure the prepetition default

  ($22,106.24 in arrearage) had been paid in full and that Todd had completed all payments

  required under the Chapter 13 Plan.

         63.     On May 13, 2016, Ocwen filed a Response to Notice of Final Cure Payment

  under Claim Number 8 on the Claims Register, “[agreeing] that the Debtor(s) have paid in full

  the amount required to cure the prepetition default on the creditor’s claim.”

         64.     Also on May 13, 2016, Ocwen filed an Addendum To Response To The Notice of

  Final Cure stating, “once [payment in the amount of $486.04, written on check #280695, issued

  by the Trustee] has been received, Debtor will be due for his May 1, 2016 payment.

         65.     Thus, under the penalties for perjury, Ocwen affirmed that upon receipt of the

  aforementioned payment Todd was current with all post-petition payments consistent with

  §1322(b)(5) of the Bankruptcy Code including all fees, charges, expenses, escrow, and costs.

         66.     On May 6, 2016, by Personal Money Order No. 110848, Todd mailed payment of

  $574.00 to Ocwen for application to his May 1, 2016, installment payment as required and as

  described above. The payment was accepted by Ocwen and applied to the Loan.

         67.     A true and accurate copy of the Personal Money Orders paid to Ocwen by Todd

  for his May, June, and July of 2016 payment obligations are attached hereto as “Exhibit B”.

         68.     On July 23, 2016, an Order of Discharge was entered. [Filing No. 131].

         69.     In accordance with the Chapter 13 Plan, Order of Discharge, Notice of Final

  Cure Payment, and Response to Notice of Final Cure Payment, the Loan was to be reinstated



                                                  11
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 12 of 58 PageID #: 1719




  according to the original terms and any right of Ocwen or Deutsche Bank to recover any amounts

  alleged to have arisen prior to filing was thereby extinguished.

         70.     Thereafter, Todd continued making timely and adequate monthly installments to

  Ocwen as obligated.

                                Ocwen’s Servicing Misconduct – Fees

         71.     Sometime in June of 2018, Todd obtained an exact reproduction of the life of loan

  mortgage transactional history (“Life of Loan History”) for the Loan from the system of record

  used by Ocwen. The Life of Loan History reflects the current mortgage balance, the date of

  receipt and application of all payments, the date of assessment for any late fees or charges, and

  the recording of any corporate advances for any legal fees or charges, including without

  limitation property inspection fees, legal fees, escrow fees, processing fees or any other collateral

  charges.

         72.     A review of the Life of Loan History reveals a myriad of unexplainable and errant

  servicing conduct.

         73.     A true and accurate copy of the current Life of Loan History is attached hereto as

  “Exhibit C”.

         74.     During the course of the Bankruptcy Case, Ocwen assessed fees and expenses to

  the Loan.

         75.     The fees and expenses include without limitation a broker price opinion (“BPO”)

  on October 24, 2014 ($121.00), attorney fees for the “Review of Plan/Notice of Appearance on

  June 6, 2013 ($150.00), and “Prior Servicer Fees” on June 6, 2014 ($1,471.71), July 8, 2014

  ($519.82), and September 8, 2014 ($68.75).




                                                   12
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 13 of 58 PageID #: 1720




         76.     Ocwen did not provide notice of these fees or expenses to the Bankruptcy Court

  as required by FRBP § 3002.1.

         77.     After the Bankruptcy Case and the entry of the Order of Discharge, Ocwen

  continued to assess expenses to the Loan despite Todd being legally and factually current. These

  expenses include, but are not limited to, the following:

           Provider      Description                    Date of Service     Amount
           Altisource    Ocwen BPO                      06/21/2016          $110.00
           Altisource    No Contact Inspection          8/3/2016            $13.25
           Altisource    No Contact Inspection          12/14/2016          $13.25
           Altisource    No Contact Inspection          12/27/2016          $13.25
           Altisource    No Contact Inspection          1/16/2016           $13.25
           Altisource    Exterior Property Inspection   2/14/2016           $13.25
           Altisource    Exterior Property Inspection   3/16/2016           $13.25
           Altisource    Exterior Property Inspection   4/18/2016           $14.50
           Altisource    Exterior Property Inspection   5/19/2016           $14.50
           Altisource    Exterior Property Inspection   6/19/2016           $14.50
           Altisource    Exterior Property Inspection   7/24/2016           $14.50
           Altisource    Exterior Property Inspection   8/3/2016            $14.50
           Altisource    Exterior Property Inspection   12/14/2016          $14.50
           Altisource    Exterior Property Inspection   12/27/2016          $14.50
           Altisource    Exterior Property Inspection   1/16/2017           $14.50
           Altisource    Exterior Property Inspection   2/14/2017           $14.50
           Altisource    Exterior Property Inspection   3/16/2017           $14.50
           Altisource    Exterior Property Inspection   4/18/2017           $14.50
           Altisource    Exterior Property Inspection   5/19/2017           $14.50
           Altisource    Exterior Property Inspection   6/19/2017           $14.50
           Altisource    Exterior Property Inspection   7/24/2017           $14.50
           Altisource    Exterior Property Inspection   8/25/2017           $14.50
           Altisource    Exterior Property Inspection   9/26/2017           $14.50
           Altisource    Exterior Property Inspection   10/28/2017          $14.50
           Altisource    Exterior Property Inspection   11/28/2017          $14.50
           Altisource    Exterior Property Inspection   12/28/2017          $14.50
           Altisource    Exterior Property Inspection   1/29/2018           $14.50
           Altisource    Exterior Property Inspection   3/2/2018            $14.50
           Altisource    Exterior Property Inspection   4/2/2018            $14.50
           Altisource    Ocwen BPO                      4/5/2018            $110.00
           Altisource    Exterior Property Inspection   4/30/2018           $14.50
           Altisource    Exterior Property Inspection   6/5/2018            $14.50
           Altisource    Exterior Property Inspection   7/10/2018           $14.50
           Altisource    Exterior Property Inspection   7/31/2018           $14.50
           Altisource    Exterior Property Inspection   9/4/2018            $14.50

                                                  13
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 14 of 58 PageID #: 1721




           Altisource    Exterior Property Inspection 10/3/2018               $14.50
           Altisource    Exterior Property Inspection 11/9/2018               $14.50

         78.     A true and accurate copy of an Invoice for each service described above is

  attached hereto as “Exhibit D”.

         79.     By information and belief, the Exterior Property Inspection[s] described above

  were not actually performed. Among other things, the Home is not accessible or visible from

  Washboard Road.

         80.     Neither Ocwen nor Deutsche Bank provided Todd “notice at the time of or prior

  to any inspection specifying reasonable cause for the inspection” as set forth in the Mortgage.

         81.     Ocwen has also assessed, and continues to assess, a “Certified Mail Cost” of

  $6.53 to the Loan for each Notice of Default it mails to Todd.

         82.     As further detailed below, and despite his exhaustive efforts to get Ocwen to stop,

  it has mailed Todd a Notice of Default every month since November of 2016.

          Ocwen’s Servicing Misconduct – Misapplication of Payments & Missing Funds

         83.     In addition to the fees described above, the Life of Loan History reflects that

  during the Bankruptcy Case and thereafter, Ocwen maintained a large surplus balance in

  Suspense. The highest balances include $2,417.68 on or about November 7, 2012, $5,263.43 on

  or about May 6, 2013, $2,868.13 on or about February 9, 2015, $874.17 on or about July 5,

  2016, $1,941.18 on or about August 29, 2016, and $26,975.16 on or about November 15, 2016.

         84.     Each amount referenced in the immediately preceding paragraph exceeds any

  monthly payment obligation Todd has ever owed on his Loan.

         85.     Ocwen’s retention of funds in excess of a regular payment amount in Suspense,

  instead of properly applying these funds to principal, interest, and escrow as contractually and

  legally obligated, caused it to charge Todd with fees and additional interest without basis.

                                                  14
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 15 of 58 PageID #: 1722




         86.     Ocwen’s retention of funds in Suspense in excess of his regular monthly payment

  amount for extended periods of time deprived Todd of the time value of that money as Ocwen

  did not pay interest towards the balance.

         87.     On or about July 6, 2015, Ocwen reversed payments totaling $1,944.12

  previously paid from Suspense.

         88.     However, the $1,944.12 was not returned to Suspense or applied elsewhere.

         89.     To date, Ocwen cannot account for the $1,944.12.

         90.     On or about July 22, 2015, Ocwen reversed payments totaling $972.06 previously

  paid from Suspense.

         91.     However, only $569.16 of the $972.06 was returned to Suspense. The remaining

  $402.90 was applied elsewhere.

         92.     To date, Ocwen cannot account for the missing $402.90.

         93.     On August 6, 2015, Ocwen performed a “BK Escrow Adjustment” resulting in the

  transfer of $569.16 from Suspense. The $569.16 was not transferred to Todd’s escrow account,

  used to pay taxes or insurance, or returned to Suspense.

         94.     To date, Ocwen cannot account for the $569.16.

         95.     On August 2, 2016, Ocwen posted Todd’s payment of $600.00 as a Suspense

  payment but his Suspense balance did not increase.

         96.     To date, Ocwen cannot account for the $600.00.

         97.     On January 4, 2017, Ocwen increase the principal balance of the Loan by

  $4,343.35.

         98.     To date, Ocwen has offered no explanation for why it increased the principal

  balance of the Loan.



                                                 15
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 16 of 58 PageID #: 1723




         99.     The Note does not contain language permitting a unilateral increase to the

  principal portion of the Loan.

         100.    Todd did not agree to any increase to the principal balance of the Loan.

         101.    Todd did not receive any notice of Ocwen’s intent to unilaterally increase the

  principal balance of the Loan.

         102.    Beginning on February 2, 2017, Ocwen increased the principal and interest

  portion of Todd’s monthly payment obligation from $435.51 to $488.15. This increase was not

  preceded or accompanied by a notice of payment change or increased interest rate.

         103.    The Note does not contain language permitting an increase to the principal portion

  of Todd’s month payment obligations.

         104.    To date, Ocwen has offered no explanation for why it increased the principal and

  interest portion of Todd’s monthly payment obligation.

                Ocwen’s Servicing Misconduct – Mismanagement of Escrow Account

         105.    At the time it assumed the servicing of the Loan, Ocwen was required to perform

  an audit of the loan history to verify its accuracy.

         106.    Pursuant to the RESPA, if the terms of any federally related mortgage loan

  require the borrower to make payments to the servicer of the loan for deposit into an escrow

  account for the purpose of assuring payment of taxes, insurance premiums, and other charges

  with respect to the property, the servicer shall notify the borrower not less than annually of any

  shortage of funds in the escrow account. 12 U.S.C. § 2609(b).

         107.    During the Bankruptcy Case, Ocwen failed to perform an annual escrow analysis.




                                                    16
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 17 of 58 PageID #: 1724




         108.    During the Bankruptcy Case, Ocwen failed to notify Todd or the Trustee (at least

  once during the escrow account computation year) of any escrow shortage or deficiency. See In

  re Laskowski, 384 B.R. 518, 534 (Bankr. N.D. Ind. 2008).

         109.    Ocwen also failed to perform an escrow analysis before seeking repayment of the

  deficiency. See 24 C.F.R. § 3500.17(f)(5).

         110.    Pursuant to the RESPA, any servicer that has established or continued an escrow

  account in connection with a federally related mortgage loan shall submit to the borrower for

  which the escrow account has been established or continued a statement clearly itemizing, for

  each period not greater than every 12 months, the amount of the borrower's current monthly

  payment, the portion of the monthly payment being placed in the escrow account, the total

  amount paid into the escrow account during the period, the total amount paid out of the escrow

  account during the period for taxes, insurance premiums, and other charges (as separately

  identified), and the balance in the escrow account at the conclusion of the period. 12 U.S.C. §

  2609(c)(2)(A)(B).

         111.    Pursuant to Fed. R. Bankr. P. 3002.1(b), all mortgage servicers are required to file

  and serve on the debtor, debtor’s counsel, and the trustee a notice of any change in the payment

  amount, including any change that results from an interest rate or escrow account adjustment.

  This “Notice of Mortgage Payment Change” is included in Official Form 410S1.

         112.    One of the purposes of the notice requirements contained in 12 U.S.C. § 2609 and

  Fed. R. Bankr. P. 3002 is to prevent a servicer from “sand-bagging” a borrower with an

  unanticipated escrow arrearage or an increase in monthly escrow payment. This is particularly

  relevant in the context of borrowers in bankruptcy or who are otherwise experiencing financial

  hardship.



                                                  17
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 18 of 58 PageID #: 1725




         113.   From April of 2011 to November of 2011, Ocwen applied $163.64 to escrow

  from each payment it received from Todd (via the Trustee).

         114.   Per its own Proof of Claim and the confirmed Chapter 13 Plan, $97.54 was to be

  applied to escrow.

         115.   This escrow increase was not accompanied by a Notice of Payment Change or an

  escrow analysis suggestive of an increase to Todd’s property taxes or other expense.

         116.   From December of 2011 to August of 2012, Ocwen applied $163.64 to escrow

  from each payment it received from Todd (via the Trustee). Per the Notice of Payment Change

  filed by Ocwen November 16, 2011, $0.01 was to be applied to escrow. [Doc. 42].

         117.   Despite the foregoing escrow applications being in excess of what was mandated,

  the Life of Loan History reflects that Ocwen’s illegal conduct nonetheless caused a negative

  escrow balance to exist almost continuously throughout the Bankruptcy Case and even after

  discharge. The most negative balances include -$5,217.85 on or about October 6, 2012, -

  $7,124.90 on June 6, 2013, -$3,206.63 on or about May 9, 2016 (four days before Ocwen filed

  the Response to Notice of Final Cure Payment), and -$815.25 on or about January 4, 2017.

         118.   The negative escrow balance would not have occurred, or could have been timely

  addressed, had Ocwen performed requisite escrow analyses or otherwise fulfilled its statutory

  notice requirements.

         119.   An escrow account is a form of trust account.

         120.   Ocwen had no right or authority to credit or debit funds from escrow outside the

  requirements of the Loan or without Todd’s informed consent.




                                                 18
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 19 of 58 PageID #: 1726




         121.    By maintaining a negative escrow balance, Ocwen caused Todd to pay amounts

  he was not required to pay, depriving him of the time value of that money, and caused him to

  incur fees, penalties and/or interest that he would not have otherwise.

         122.    In addition, by allowing and failing to disclose the negative escrow balance at and

  following the conclusion of the Bankruptcy Case, Ocwen violated the automatic stay and

  discharge injunction ordered therein, depriving Todd of the fresh start to which he was entitled.

            Ocwen’s Attempts to Collect Amounts Not Owed – Written Correspondence

         123.    On or about November 8, 2016, Ocwen forwarded a Mortgage Account Statement

  to Todd, seeking immediate payment of $14,256.83.

         124.    A true and accurate copy of the Mortgage Account Statement described above is

  attached hereto as “Exhibit E”.

         125.    On November 8, 2016, Ocwen mailed to Todd a Delinquency Notice, claiming he

  was “798 days delinquent” and seeking immediate payment of $14,449.12.

         126.    A true and accurate copy of the Delinquency Notice is attached hereto as “Exhibit

  F”.

         127.    On November 8, 2016, Todd was not 798 days delinquent.

         128.    On or about December 14, 2016, Ocwen rejected Todd’s monthly payment and

  directed correspondence to him titled “Funds Returned.”

         129.    A true and accurate copy of the correspondence titled “Funds Returned,” dated

  December 14, 2016, is attached hereto as “Exhibit G”.

         130.    On January 6, 2017, Ocwen mailed Todd correspondence proclaiming him to be

  in default. The letter also stated that if Todd were to remain in default for thirty more days he

  could lose his home.



                                                   19
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 20 of 58 PageID #: 1727




         131.    Also on January 6, 2017, Ocwen mailed Todd a Notice of Default, seeking

  immediate payment of $1,951.93.

         132.    On January 10, 2017, four days later, Ocwen mailed Todd a Delinquency Notice,

  seeking immediate payment of $2,624.20.

         133.    Just fifteen days later, Ocwen mailed to Todd a Notice of Default, dated January

  25, 2017, seeking immediate payment of $1,384.96 to avoid foreclosure.

         134.    A true and accurate copy of the Notice of Default, dated January 25, 2017, is

  attached hereto as “Exhibit H”.

         135.    Ocwen mailed to Todd a Delinquency Notice, dated February 15, 2017, seeking

  immediate payment of $1,522.97.

         136.    Ocwen mailed to Todd a Notice of Default, dated February 24, 2017, seeking

  immediate payment of $870.48.

         137.    Ocwen directed correspondence to Todd, dated March 13, 2017, stating: “We

  have not received your 02/01/2017 through 03/01/2017 mortgage payments.”

         138.    Ocwen mailed to Todd a Delinquency Notice, dated March 20, 2017, seeking the

  immediate payment of $1,608.49.

         139.    Ocwen mailed to Todd a Delinquency Notice, dated March 28, 2017, seeking the

  immediate payment of $956.00.

         140.    Ocwen mailed to Todd a Delinquency Notice, dated April 18, 2017, seeking the

  immediate payment of $1,694.01.

         141.    Ocwen mailed Todd a Pre-Foreclosure Notice, dated April 27, 2017, as required

  by Indiana law before the initiation of any foreclosure proceeding.




                                                 20
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 21 of 58 PageID #: 1728




         142.    A true and accurate copy of the Pre-Foreclosure Notice is attached hereto as

  “Exhibit I”.

         143.    Ocwen mailed to Todd a Notice of Default, dated April 27, 2017, seeking

  immediate payment of $1,041.52.

         144.    Ocwen mailed to Todd a Delinquency Notice, dated May 22, 2017, seeking

  immediate payment of $1,770.01.

         145.    Three days later, Ocwen mailed to Todd a Notice of Default, dated May 25, 2017,

  seeking immediate payment of $1,113.79.

         146.    Ocwen mailed to Todd a Notice of Default, dated June 28, 2017, seeking

  immediate payment of $1,205.54.

         147.    Ocwen mailed to Todd a Notice of Default, dated July 25, 2017, seeking

  immediate payment of $1,268.29.

         148.    Ocwen mailed to Todd a Notice of Default, dated September 27, 2017, seeking

  immediate payment $1,402.61.

         149.    Ocwen mailed to Todd a Notice of Default, dated October 25, 2017, seeking

  immediate payment of $1,465.72

         150.    Ocwen mailed to Todd a Notice of Default, dated November 29, 2017, seeking

  immediate payment of $1,473.08

         151.    Ocwen mailed to Todd a Notice of Default, dated December 27, 2017, seeking

  immediate payment of $1,439.00.

         152.    Ocwen mailed correspondence to Todd, dated January 2, 2018, and titled

  “Assistance Options May Be Available,” stating the account was past due for the November 1,

  2017, through January 1, 2018, payments and that the total amount owed was $2,032.18.



                                                 21
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 22 of 58 PageID #: 1729




         153.    A true and accurate copy of the document titled “Assistance Options May Be

  Available,” dated January 2, 2018, is attached hereto as “Exhibit J”.

         154.    Ocwen mailed correspondence to Todd, dated January 4, 2018, seeking the

  11/1/2017 through 1/1/2018 payments.

         155.    Ocwen mailed to Todd a Notice of Default, dated January 24, 2018, seeking

  immediate payment of $1,446.68.

         156.    Ocwen mailed to Todd a Notice of Default, dated March 27, 2018, seeking

  immediate payment of $1,461.40.

         157.    Ocwen mailed to Todd correspondence, dated April 24, 2018, and titled

  “Assistance Options May Be Available,” claiming the account was past due for the March and

  April payments in the amount of $585.56 each.

         158.    Ocwen mailed to Todd a Notice of Default, dated May 30, 2018, seeking

  immediate payment of $1,586.12.

         159.    A true and accurate copy of the Notice of Default, dated May 30, 2018, is

  attached hereto as “Exhibit K”.

         160.    Ocwen mailed to Todd a Notice of Default, dated June 27, 2018, seeking

  immediate payment of $1,593.48.

         161.    A true and accurate copy of the Notice of Default, dated June 27, 2018, is

  attached hereto as “Exhibit L”.

         162.    Ocwen mailed to Todd a Notice of Default, dated July 25, 2018, seeking

  immediate payment of $1,593.54 and stating: “In order to cure the default, payment for the entire

  total amount past due, plus any amount(s) becoming due in the interim, must be received on or

  before 08/31/2018, at the address listed on page four of this notice.”



                                                  22
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 23 of 58 PageID #: 1730




         163.    A true and accurate copy of the Notice of Default, dated July 25, 2018, is attached

  hereto as “Exhibit M”.

         164.    Ocwen mailed to Todd correspondence, dated July 30, 2018, and titled

  “Assistance Options May Be Available,” stating the account was due for 6/1/2018 through

  7/1/2018, in the amount of $585.56 each. The total amount due as of the date of the letter was

  $1,593.54.

         165.    Ocwen mailed to Todd a Notice of Default, dated August 24, 2018, seeking

  immediate payment of $1,593.31.

         166.    A true and accurate copy of the Notice of Default, dated August 24, 2018, is

  attached hereto as “Exhibit N”.

         167.    Ocwen mailed to Todd a Notice of Default, dated September 25, 2018, seeking

  immediate payment of $1,593.08.

         168.    A true and accurate copy of the Notice of Default, dated September 25, 2018, is

  attached hereto as “Exhibit O”.

         169.    Ocwen mailed to Todd a Notice of Default, dated October 26, 2018, seeking

  immediate payment of $1,592.85.

         170.    A true and accurate copy of the Notice of Default, dated October 26, 2018, is

  attached hereto as “Exhibit P”.

         171.    Ocwen mailed to Todd a Notice of Default, dated December 12, 2018, seeking

  immediate payment of $2,177.89 and stating, “Failure to cure the default on or before the date

  specified in the notice may result in acceleration of the sums secured by the Security, foreclosure

  by judicial proceeding and sale of the Property.”




                                                  23
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 24 of 58 PageID #: 1731




           172.   A true and accurate copy of the Notice of Default, dated December 12, 2018, is

  attached hereto as “Exhibit Q”.

           173.   Ocwen mailed to Todd a Notice of Default, dated On January 4, 2019, seeking

  immediate payment of $2,206.38 and stating: “Mortgage payments on the above referenced

  account are past due, which has cause a default under the terms of the Mortgage or Deed of

  Trust.

           174.   A true and accurate copy of the Notice of Default, dated January 4, 2019, is

  attached hereto as “Exhibit R”.

           175.   Each Notice of Default and Delinquency Notice set forth above sought immediate

  payment of amounts Todd did not owe and threatened foreclosure.

           176.   Each Notice of Default and Delinquency Notice set forth above contained false

  and misleading statements in that Todd was not in default or even delinquent.

           177.   Many of the notices described above occurred after Ocwen had been notified, on

  numerous occasions, of its errors and despite Todd’s pleas for the letters to stop.

           178.   Each Notice of Default and Delinquency Notice exacerbated the emotional

  distress caused to Todd by Ocwen’s servicing errors and failure to correct said errors.

           179.   Each Notice of Default set forth above was sent via certified mail, the cost of

  which was assessed to the Loan.


                       Ocwen’s Attempts to Collect Amounts Not Owed – Calls
           180.   From January to December of 2018, Ocwen or its agents caused collection calls to

  be made to Todd’s cellphone including, but not limited to, the following:

              •   On January 31, 2018 at approximately 6:12 p.m. EST;
              •   On February 13, 2018 at approximately 2:24 p.m. EST;
              •   On February 16, 2018 at approximately 3:04 p.m. EST;
              •   On March 2, 2018 at approximately 5:29 p.m. EST;

                                                   24
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 25 of 58 PageID #: 1732




           •   On March 9, 2018 at approximately 12:52 p.m. EST;
           •   On March 15, 2018 at approximately 4:12 p.m. EST;
           •   On March 22, 2018 at approximately 9:32 p.m. EST;
           •   On March 27, 2018 at approximately 6:56 p.m. EST;
           •   On April 3, 2018 at approximately 12:26 p.m. EST;
           •   On April 6, 2018 at approximately 2:56 p.m. EST;
           •   On April 11, 2018 at approximately 12:55 p.m. EST;
           •   On April 19, 2018 at approximately 2:20 p.m. EST;
           •   On April 23, 2018 at approximately 2:58 p.m. EST;
           •   On April 24, 2018 at approximately 12:26 p.m. EST;
           •   On April 25, 2018 at approximately 11:37 a.m. EST;
           •   On April 26, 2018 at approximately 10:06 a.m. EST;
           •   On April 27, 2018 at approximately 10:41 a.m. EST;
           •   On May 2, 2018 at approximately 11:38 a.m. EST;
           •   On May 3, 2018 at approximately 10:27 a.m. EST;
           •   On May 4, 2018 at approximately 11:00 p.m. EST;
           •   On May 5, 2018 at approximately 4:26 p.m. EST;
           •   On May 10, 2018 at approximately 10:30 a.m. EST;
           •   On May 11, 2018 at approximately 11:38 a.m. EST;
           •   On May 15, 2018 at approximately 9:39 a.m. EST;
           •   On May 19, 2018 at approximately 10:40 a.m. EST;
           •   On May 26, 2018 at approximately 9:48 a.m.;
           •   On June 8, 2018 at approximately 11:43 a.m. EST;
           •   On June 12, 2018 at approximately 11:44 a.m. EST;
           •   On June 15, 2018 at approximately 11:45 a.m. EST;
           •   On June 19, 2018 at approximately 3:28 p.m. EST;
           •   On June 22, 2018 at approximately 11:34 p.m. EST;
           •   On June 26, 2018 at approximately 5:54 p.m. EST;
           •   On July 2, 2018 at approximately 5:54 p.m. EST;
           •   On July 9, 2018 at approximately 11:55 a.m. EST;
           •   On July 12, 2018 at approximately 11:12 a.m. EST;
           •   On July 16, 2018 at approximately 1:56 p.m. EST;
           •   On July 19, 2018 at approximately 12:54 p.m. EST;
           •   On July 24, 2018 at approximately 11:11 a.m. EST;
           •   On July 27, 2018 at approximately 12:24 p.m. EST;
           •   On August 9, 2018 at approximately 9:26 a.m. EST;
           •   On August 16, 2018 at approximately 10:06 a.m. EST;
           •   On August 21, 2018 at approximately 10:19 a.m. EST;
           •   On August 24, 2018 at approximately 10:04 a.m. EST;
           •   On August 28, 2018 at approximately 11:32 a.m. EST;
           •   On August 31, 2018 at approximately 5:24 p.m. EST;
           •   On September 5, 2018 at approximately 11:42 a.m. EST;
           •   On September 10, 2018 at approximately 12:30 p.m. EST;
           •   On September 13, 2018 at approximately 10:46 a.m. EST;

                                             25
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 26 of 58 PageID #: 1733




              •   On September 19, 2018 at approximately 12:28 p.m. EST;
              •   On September 24, 2018 at approximately 3:22 p.m. EST;
              •   On September 27, 2018 at approximately 12:28 p.m. EST;
              •   On October 2, 2018 at approximately 12:51 p.m. EST;
              •   On October 5, 2018 at approximately 12:47 p.m. EST;
              •   On October 10, 2018 at approximately 4:34 p.m. EST;
              •   On October 15, 2018 at approximately 12:40 p.m. EST;
              •   On October 18, 2018 at approximately 11:22 p.m. EST;
              •   On October 23, 2018 at approximately 1:07 p.m. EST;
              •   On October 26, 2018 at approximately 11:50 a.m. EST;
              •   On October 31, 2018 at approximately 12:11 p.m. EST;
              •   On November 6, 2018 at approximately 12:39 p.m. EST;
              •   On November 13, 2018 at approximately 11:54 p.m. EST;
              •   On December 10, 2018 at approximately 12:52 p.m. EST;


         181.     Ocwen did not have Todd’s consent to use an automatic telephone dialing system

  and/or artificial or prerecorded voice in making the calls to his cellphone set forth above.

         182.     Ocwen placed, or cause to be placed, calls to Todd on his cellphone using an

  artificial and/or pre-recorded voice. When Todd answered the phone, he heard a message stating

  that the call was intended to reach him about “an important business matter” or some other

  purposes and inviting him to press one of the enumerated digits before connecting him to an

  Ocwen representative.

         183.     On many occasions, Todd notified Ocwen of its error in treating him as if he was

  in default and requested that Ocwen cease calling his cellphone.

         184.     Each call set forth above was designed to collect upon amounts Todd did not owe

  to Ocwen.

         185.     Each call set forth above exacerbated the emotional distress caused to Todd by

  Ocwen’s servicing errors and failure to correct said errors.

              Todd’s Efforts to Seek Information from Ocwen and have Errors Corrected




                                                   26
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 27 of 58 PageID #: 1734




          186.   In July and August of 2017, Todd communicated many if not all of the errors and

  described herein to Ocwen.

          187.   By letter dated August 24, 2017, Ocwen responded to Todd’s Notice of Error by

  “de-escrowing the loan for insurance” yet continued to earmark $106.93 of his monthly

  installment payments to escrow despite a surplus of approximately $3,582.00.

          188.   A true and accurate copy of Ocwen’s response, dated August 24, 2017, bearing

  Todd’s contemporaneous notes and highlighted for ease of reference, is attached hereto as

  “Exhibit S”.

          189.   Had Ocwen conducted a reasonable investigation into the errors previously

  identified by Todd, it would have ceased applying additional funds to escrow and/or relinquished

  the aforementioned surplus to Todd.

          190.   Had Ocwen conducted a reasonable investigation into the errors previously

  identified by Todd, or taken reasonable action in response thereto, it would not have continued to

  maintain “Lenders Placed Insurance” on the Home let alone attempt to pass the costs of “Lenders

  Placed Insurance” on to Todd despite the fact he maintained his own policy of insurance on the

  Home.

          191.   Ocwen’s failure to conduct a reasonable investigation or take action to address the

  errors identified by Todd, caused him emotional distress, and deprived him of access to, and the

  time-value of, the surplus escrow funds. It also caused Todd to expend additional time and

  resources attempting to get the errors corrected.

          192.   In or around August of 2017, Todd provided Ocwen with information and

  documents sufficient to form the basis of a Notice of Error.




                                                  27
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 28 of 58 PageID #: 1735




         193.    Specifically, Todd notified Ocwen of errors with his unpaid principal balance, the

  property inspection and other fees being charged to the Loan, the amount of funds being

  earmarked and applied from his monthly installment payments towards taxes and insurance, and

  with the its placed of the Loan in a delinquency/default status.

         194.    In addition, Todd asked Ocwen to investigate those errors, correct them, and

  provide an explanation of its findings and/or changes.

         195.    Ocwen responded to Todd’s Notice of Error by letter dated September 26, 2017.

         196.    A true and accurate copy of Ocwen’s correspondence, dated September 26, 2017,

  is attached hereto as “Exhibit T”.

         197.    Within the response, Ocwen partially addressed the errors related to the Lender

  Placed Insurance by again claiming the account had been “updated as non-escrow” (the same

  thing Todd was told a month earlier), but did nothing to address the errors relative to the false

  default/delinquent status of the Loan, the incorrect unpaid principal balance, the ongoing fees

  being assessed to the Loan, or the amount of funds still be earmarked to taxes and insurance from

  his monthly payments.

         198.    For instance, Ocwen acknowledged an escrow surplus of $3,582.05 yet: i) refused

  to refund any portion of it to Todd because it alleged he had not made his August 2017 or

  September 2017 payments; ie., that the Loan was delinquent, and ii) continued to earmark

  $106.93 of each Todd’s monthly payments to escrow despite the large surplus and despite

  acknowledging that Todd’s 2016 property tax obligation was only $634.87.

         199.    In addition, Ocwen continued to contend the property inspection fees and certified

  mail cost fees “are valid on the loan.”




                                                   28
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 29 of 58 PageID #: 1736




         200.    Other parts of Ocwen’s response were contradictory. For example, the response

  implies Ocwen took action in response to Todd’s notice of errors, but very plainly states the

  necessary corrections it took, following an investigation, occurred “on 01/04/2017” and,

  therefore, despite the fact the balance “was” reflecting inaccurately “as of this date the unpaid

  principal balance on the loan is $46,966.94 which is valid.”

         201.    In sum, Ocwen conducted no further investigation into nor took any action to

  correct Todd’s issues with the principal balance of the Loan, instead opting to rely upon actions

  taken in excess of seven months before it received Todd’s correspondence in or around August

  of 2017.

         202.    Had Ocwen conducted a reasonable investigation, or taken reasonable action, it

  would have corrected the false default/delinquency of the loan, ceased earmarking $106.93 from

  each of Todd’s monthly payments towards escrow, ceased assessing the Loan property

  inspection fees, and refunded the surplus escrow balance.

         203.    Ocwen’s failure to conduct a reasonable investigation or take action to address the

  errors identified by Todd, caused him: i) emotional distress (particularly the alleged

  delinquency/default status) in the form of anxiety, frustration, and even anger; ii) deprived him

  of access and time-value of the surplus escrow funds; and iii) caused him to expend additional

  time and resources attempting get the aforementioned items corrected.

         204.    Thereafter, Todd attempted on numerous occasions to get Ocwen to correct its

  errors, stop treating the Loan as if it were in default or delinquency, stop inundating him with

  collection calls, stop assessing the Loan with property inspection fees, and stop mishandling his

  escrow account, before finally contacting an attorney.

         205.    Each attempt was unsuccessful and caused Todd additional emotional distress.



                                                   29
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 30 of 58 PageID #: 1737




          206.    By letter dated May 21, 2018, Todd directed correspondence captioned “Request

  for Information Pursuant to Section 1024.36 of Regulation X” (“RFI No. 1”) in hopes of

  obtaining documents necessary to ascertain the cause of his alleged default.

          207.    A true and accurate copy of RFI No. 1 is attached hereto as “Exhibit U”.

          208.    Ocwen received RFI No. 1 on May 29, 2018, at the address it designated for

  receipt of such notices, as evidence by USPS Certified Mail Tracking No.

  9414810699945031711943.

          209.    In response to RFI No. 1, Ocwen sent correspondence dated June 7, 2018,

  acknowledging receipt and including a Payoff Quote.

          210.    In response to RFI No. 1, Ocwen send correspondence dated June 8, 2018,

  including a copy of the Life of Loan History described above.

          211.    Ocwen did not provide Todd with the requested copies of: (i) its servicing notes;

  (ii) an accurate payoff statement; or (iii) all credit reporting data and e-Oscar AUD’s provided to

  any credit bureau.

          212.    Ocwen’s failure to provide the documents set forth above caused Todd an

  informational injury and caused him to expend addition time and resources preparing disputes

  and the correspondence detailed below.

          213.    Specifically, if Todd had been provided the documents he requested and was

  legally entitled to receive, he would have been better able to respond to the alleged default by

  highlighting information contained therein and/or provide Ocwen with an even more detailed

  description of the errors it apparently could not identify itself.

          214.    Following an initial review of the Life of Loan History, and in response to

  Ocwen’s failure to provide documents or reasonably investigate Todd’s previous notices of



                                                    30
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 31 of 58 PageID #: 1738




  errors, Todd directed correspondence titled “Notice of Errors under 12 C.F.R. §1024.35(b)(11)”

  (“NOE No. 1”), dated July 24, 2018, for: (i) failing to apply payments as contractually obligated,

  a defined error as set forth in 12 C.F.R. § 1024.35(b)(1); (ii) failing to provide a payoff statement

  within seven business days as required by 12 C.F.R. 1024.36(d)(2); (iii) failing to provide an

  accurate payoff statement (the statement’s good until date had already expired and included

  improper and unreasonable fees) as required by 1026.36(c) of Reg. Z and 12 C.F.R.

  1024.35(b)(6) ; and (iv) failing to adequately respond to an RFI within thirty business days when

  it failed to provide all information pertaining to the reporting of Todd’s payments to any credit

  reporting agency.

         215.    In the event it were to determine no error had occurred, NOE No.1 also requested

  that Ocwen provide all documents relied upon in reaching that determination as required by Reg.

  X, 12 C.F.R. §§ 1024.35(e)(1).

         216.    A true and accurate copy of NOE No. 1 is attached hereto as “Exhibit V”.

         217.    By and through NOE No. 1, Todd’s numerous communications with Ocwen

  representatives and previous submissions to them, Todd brought errors to Ocwen’s attention and

  requested that the errors be investigated and corrected.

         218.    Ocwen received NOE No. 1, at the address it designated for receipt of such

  notices, on July 28, 2018, as evidenced by USPS Certified Mail Tracking No.

  9414810699945032996943.

         219.    Ocwen did not acknowledge receipt of NOE No. 1 within five business days as

  required by 12 C.F.R. 1024.36(d)(2).

         220.    Thereafter, Ocwen took no action to correct any of the distinct errors identified in

  NOE No. 1. Instead, by letter dated August 13, 2018, Ocwen responded to NOE No. 1 with



                                                   31
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 32 of 58 PageID #: 1739




  largely boilerplate language, an incomplete history of its correspondence with Todd, a recitation

  of actions it claimed to have taken months and years previously (but that did not result in any

  corrective action), contradictory and false statements, and pages of information defining

  processes and items unrelated to the errors identified.

         221.      A true and accurate copy of Ocwen’s response to NOE No. 1 is attached hereto as

  “Exhibit W”.

         222.      For instance, Ocwen’s response to NOE No.1 states, “[o]n 01/24/2017, we

  received payment of $600.00, which was placed in suspense account, as it was not sufficient to

  satisfy one contractual payment.”

         223.      Unless Ocwen unilaterally increased Todd’s monthly payment obligation without

  basis or notice, the quotation contained in immediately preceding paragraph is false.

         224.      A payment of $600.00 exceeded Todd’s contractual payment for January or

  February of 2017.

         225.      Ocwen’s response also does not entail any explanation for why a payment dated

  on December, 31, 2016, and mailed immediately thereafter, was not “received” or applied until

  January 24, 2017.

         226.      Any reasonable investigation into the errors alleged by and through NOE No.1

  would have uncovered the errors alleged therein and resulted in some action being taken to

  address them.

         227.      Thereafter, Ocwen did not provide the documents or information it relied on in

  reaching its determination within fifteen business as required by Reg. X, 12 C.F.R. §

  1024.36(e)(4).




                                                   32
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 33 of 58 PageID #: 1740




         228.    Because of Ocwen’s failure to reasonably investigate or correct the errors

  identified in NOE No.1 and following a more thorough review of the Life of Loan History, Todd

  directed correspondence to Ocwen titled “Second Notice of Errors under 12 C.F.R.

  §1024.35(b)(11)” (“NOE No. 2”), dated November 8, 2018, for: (i) failing to apply payments as

  contractually obligated, a defined error as set forth in 12 C.F.R. § 1024.35(b)(2); (ii) failing to

  perform an escrow analysis in violation of 12 C.F.R. § 1024.17(c) and 12 U.S.C. § 2609(a); (iii)

  imposing improper and unreasonable fees, a defined error as set forth in 12 C.F.R. §

  1024.35(B)(5); (iv) failing to adequately investigate or respond to NOE No. 1, or correct errors

  in violation of 12 C.F.R. § 1024.35(e); (v) failing to adequately respond to RFI No. 1 when it

  failed to provide the requested information pertaining to the reporting of Todd’s payments to

  credit reporting agencies; and (vi) failing to acknowledge receipt of NOE No. 1 within five

  business days as required by 12 C.F.R. § 1024.36(d)(2).

         229.    A true and accurate copy of NOE No. 2 is attached hereto as “Exhibit X”.

         230.    In the event it determined no error had occurred, NOE No. 2 also requested

  Ocwen provide all documents relied upon in reaching that determination pursuant to Reg. X, 12

  C.F.R. § 1024.35(e)(1).

         231.    In addition, NOE No. 2 requested Ocwen: (i) acknowledge in writing the Loan is

  current with no outstanding amounts; (ii) refund to Todd any charges and fees not approved in

  the Bankruptcy Case; (iii) fix the errors with Todd’s escrow account and perform a new escrow

  analysis; (iv) produce copies of all documents or screenshots relative to the alleged property

  inspections charged to the Loan; and (v) provide a copy all credit reporting data and/or e-Oscar

  AUD’s provided to or received from any credit reporting agency with regard to the loan.




                                                    33
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 34 of 58 PageID #: 1741




         232.    Ocwen received NOE No. 2 on November 12, 2018, at the address it designated

  for receipt of such notices, as evidenced by USPS Certified Mail Tracking No.

  70172620000078866530.

         233.    Ocwen did not acknowledge receipt of NOE No. 2 within five business days as

  required by 12 C.F.R. 1024.36(d)(2), nor notify Todd that the errors identified therein had been

  corrected.

         234.    Ocwen took no action to correct any of the distinct errors identified in NOE No.

  2.

         235.    Instead, by letter dated December 10, 2018, Ocwen responded to NOE No. 2 by

  stating: (i) “On 11/16/2018, we performed Bankruptcy reconciliation and it was determined that

  all payments received during active bankruptcy are applied correctly and the account was

  current”; (ii) “Currently, fees and expenses of $581.50 are outstanding on the loan, which are

  valid”; and (iii) “The surplus funds of $3,552.44 were not refunded as the account was

  contractually delinquent.”

         236.    If Ocwen had performed a “Bankruptcy reconciliation” it would have determined

  the account was and is current.

         237.    Likewise, if Ocwen had determined the account was current it should have

  refunded the surplus escrow funds and acknowledged error in not doing so.

         238.    The rest of Ocwen’s’ response to NOE No.2 was largely a template containing

  boilerplate language not responsive to the specific notices of error. See Lage v. Ocwen Loan

  Servicing, LLC., 2015 WL 7294854, at *13 (S.D. Fla. Nov. 19, 2015) (“The sending of a

  template or form letter which fails to substantively address concerns raised by the borrower’s




                                                 34
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 35 of 58 PageID #: 1742




  inquiry does not satisfy the servicer’s obligations under Regulation X’s error resolution

  procedures”).

         239.     A true and accurate copy of Ocwen’s response to NOE No. 2 is attached hereto as

  “Exhibit Y”.

         240.     Each of the statements quoted in Paragraph 204 are false.

         241.     Ocwen’s response to NOE No. 2 is contradicted by its Notices of Default and the

  Life of Loan History it provided in response to RFI No. 1. See Guccione v. JPMorgan Chase

  Bank, 2015 WL 1968114 (N.D. Cal. May 1, 2015)(servicer’s response that there was no error

  with escrow account contradicted by three documents sent to the borrower each stating that a

  different escrow amount was owed.); see, also, Wilson v. Bank of Am., 48 F. Supp. 3d 787 (E.D.

  Pa. 2014)(Plaintiff sufficiently alleged that servicer did not conduct a reasonable investigation of

  her notices of error where the servicer sent her response with contradictory explanations for why

  the actions she requested were not taken).

         242.     Any reasonable investigation into the errors alleged in NOE No. 2 would have

  uncovered the alleged errors and resulted in some action being taken to address them.

         243.     Thereafter, Ocwen did not provide the requested documents or information it

  relied upon in reaching its apparent determination that no error occurred within fifteen business

  as required by Reg. X, 12 C.F.R. § 1024.36(e)(4).

         244.     By letter dated December 5, 2018, Todd directed correspondence to Ocwen

  captioned “Request for Information Pursuant to Section 1024.36 of Regulation X” (“RFI No. 3”)

  seeking: (i) copies of all notices of payment change; (ii) copies of all notes created by Ocwen

  personnel reflecting communications with the Borrower; and (iii) copies of all information or

  documents in accordance with a notice of error provided from Borrower to Ocwen.



                                                   35
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 36 of 58 PageID #: 1743




         245.    A true and accurate copy of RFI No. 3 is attached hereto as “Exhibit Z”.

         246.    Ocwen received RFI No. 3 on December 11, 2018, at the address it designated for

  receipt of such notices, as evidence by USPS Certified Mail Tracking No.

  70172620000078861344.

         247.    On December 10, 2018, Todd directed correspondence to Ocwen titled “Third

  Notice of Errors under 12 C.F.R. §1024.35(b)(11)” (“NOE No. 3”), notifying Ocwen of errors

  including: (i) failing to promptly credit other payments made by Todd (during and after

  bankruptcy) not identified previously, instead placing them in suspense for extended periods of

  time, in violation of Reg. Z, 12 C.F.R. § 1026.36(c)(1) and/or 15 U.S.C. § 1639f; (ii) improperly

  imposing additional fees not previously identified, in violation of 12 C.F.R. § 1024.35(b); (iii)

  failing to send Interest Rate and/or Payment Change Notices in violation of Reg. Z, 12 C.F.R.

  1026.20(c) & (d); and (iv) failing to acknowledge receipt of NOE No. 2 within five business

  days as required by 12 C.F.R. § 1024.36(d)(2).

         248.    A true and accurate copy of NOE No. 3 is attached hereto as “Exhibit AA”.

         249.    In the event it determined no error had occurred, NOE No. 3 also requested that

  Ocwen provide all documents relied upon in reaching that determination pursuant to Reg. X, 12

  C.F.R. § 1024.35(e)(1).

         250.    In addition, NOE No. 3 specifically disputed that Todd is, or has ever been,

  delinquent since his discharge from bankruptcy.

         251.    In addition, NOE No. 3 requested Ocwen: (i) credit Todd’s loan account the

  improper charges identified therein; (ii) properly credit Todd’s payments and refund any

  improper interest incurred/assessed as a result of those errors; and (iii) cause all credit reporting

  agencies to change their reporting of the Loan reflect it as current starting in March of 2015.



                                                    36
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 37 of 58 PageID #: 1744




          252.    Ocwen received NOE No. 3 on December 13, 2018, at the address it designated

  for receipt of such notices, as evidence by USPS Certified Mail Tracking No.

  70172620000078861368.

          253.    Ocwen did not acknowledge receipt of NOE No. 3 within five business days as

  required by 12 C.F.R. 1024.36(d)(2) nor did it take any action to correct the distinct errors

  identified therein.

          254.    Thereafter, Ocwen did not provide any of the documents it relied upon in

  concluding no error had occurred.

          255.    Instead, by letter dated December 31, 2018, Ocwen responded to NOE No. 3 (and

  presumably RFI No. 3) by restating the information it provided in response to NOE No. 2,

  including additional boilerplate language not responsive to the errors identified in NOE No. 3,

  and containing contradictory terms.

          256.    Ocwen did not and has not produced copies of all notes created by its personnel

  reflecting communications with Todd about the Loan.

          257.    Any reasonable investigation into the errors alleged by and through NOE No. 3

  would have uncovered the errors alleged therein and resulted in some action being taken to

  address them.

          258.    A true and accurate copy of Ocwen’s response to NOE No. 3 and is attached

  hereto as “Exhibit BB”.

          259.    Finally, having tried resolve the issues identified herein for over two years, Todd

  directed correspondence to Ocwen captioned “Fourth Notice of Errors under 12 C.F.R.

  §1024.35(b)(11)” (“NOE No. 4”), dated January 29, 2019, for: (i) failing to accept a timely and

  adequate payments as contractually obligated when it rejected Todd’s December 2018 payment;



                                                   37
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 38 of 58 PageID #: 1745




  (ii) increasing his principal balance; (iii) failing to appropriately investigate the errors identified

  in NOE No. 1 and NOE No. 2; (iv) assessing impermissible and unreasonable fees; and (v)

  mismanaging his escrow account.

          260.    A true and accurate copy of NOE No. 4 is attached hereto as “Exhibit CC”.

          261.    Ocwen received NOE No. 4 on February 4, 2019, at the address it designated for

  receipt of such notices, as evidenced by USPS Certified Mail Tracking No.

  70172620000078861504.

          262.    To date, Ocwen has failed to provide a sufficient response to RFI No. 1 or RFI

  No. 3, and has failed to reasonably investigate or correct the errors identified in NOE No. 1,

  NOE No. 2, NOE No. 3, or NOE No. 4.

          263.    Any reasonable investigation into the errors alleged by and through NOE No. 1,

  NOE No. 2, NOE No. 3, or NOE No. 4 would have uncovered the errors alleged therein and

  resulted in some action being taken to address them.

          264.    Each failure exacerbated the emotional distress caused to Todd by Ocwen.

          265.    By failing to acknowledge or provide information requested by Todd, failing to

  adequately investigate his notices of errors or take action to address them, and refusing to stop its

  collection attempts, Ocwen has and continues to violate 12 C.F.R. § 1024.35(e).

                                   Impact On, And Damage To, Todd

          266.    Due to the actions of Ocwen, before and after receipt of actual notice on

  numerous occasions, Todd remains in a false and worsening “default” status, continues to

  receive false and harassing communications, and is still suffering from a wrongfully suppressed

  FICO score. He cannot obtain credit at rates relative to his real credit risk and cannot refinance

  his home.



                                                    38
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 39 of 58 PageID #: 1746




          267.    Ocwen’s unlawful and wrongful acts and omissions have caused Todd to suffer

  emotionally, financially, and even physically. He has experienced loss of sleep, anxiety, and

  frustration over Ocwen’s refusal to correct the problems described herein and its continued threat

  of foreclosure. See Johnston v. Bank of America, NA., 173 F. Supp. 2d 809 (N.D. Ill. 2001)

  (possibility of wrongful foreclosure sufficient to state emotional distress damages); see, also,

  Parks v. Wells Fargo Home Mortgage, Inc., 398 F.3d 937, 941 (7th Cir. 2005) (“We have no

  doubt that anyone would suffer emotional harm from losing his or her home, or even from facing

  such a possibility”).

          268.    The aforementioned emotional distress was magnified by the events described

  herein having occurred over such an extended period of time, and with such repetition, despite

  Todd’s earnest attempts to have the errors and omissions addressed and following what he

  believed was to be a fresh start following the conclusion of his bankruptcy proceedings.

          269.    Furthermore, Ocwen’s refusal to correct the problems described herein, or cease

  its collection efforts, after receipt of actual notice of its errant conduct on numerous occasions,

  caused Todd to incur additional actual damage in the form of time away from work, travel

  expenses, loss of time while on the phone with Ocwen representatives, and costs associated with

  the investigation and preparation of Notices of Errors, follow-up Requests for Information, and

  other dispute letters.

          270.    In addition, because of the false “default” status on the Loan, Ocwen has imposed

  and continues to impose unwarranted fees. Eventually, the combination will very likely

  snowball into a foreclosure proceeding. This further exacerbates the emotional distress Ocwen

  has forced upon Todd.

                                Ocwen’s Pattern & Practice of Illegal Conduct



                                                   39
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 40 of 58 PageID #: 1747




         271.    Ocwen has engaged in a pattern and practice of mistreating mortgage loan

  borrowers and violating provisions of RESPA and Regulation X.

         272.    Herein, that pattern and practice entails dozens of servicing errors, abusive and

  unjustified collection practices, and a continued refusal to correct the servicing errors.

         273.    In addition, at the time of the filing of this Complaint, Ocwen has had at least

  11,075 consumer complaints lodged against it nationally, specifically concerning the issue

  identified on the CFPB’s consumer complaint database as “loan modification, collection,

  foreclosure” related to mortgage products. Each such complaint is filed and cataloged in the

  CFPB’s publicly accessible online database, which can be located at the following hyperlink:

  http://www.consumerfinance.gov/complaintdatabase/.

         274.    On April 20, 2017, the CFPB filed suit against Ocwen in the Federal District

  Court for the Southern District of Florida (Case No. 9:17-cv-80495) (“CFPB Lawsuit”).

         275.    Paragraph 33 of the CFPB contains a possible explanation for Ocwen’s pattern

  and practice of unlawful behavior:

         “As set forth in greater detail below, Ocwen has serviced loans and collected upon
         debts based on inaccurate and incomplete borrower loan information. Ocwen has
         often input inaccurate and incomplete information, or failed to input accurate or
         complete information, about borrowers’ loans into its REALServicing system of
         record. Even when the information in REALServicing has been accurate,
         REALServicing has generated inaccurate information about borrowers’ loans due
         to system deficiencies. Because of these system deficiencies, Ocwen has had to
         rely upon manual processes and workarounds that have themselves resulted in
         errors in borrowers’ loan information.”

         276.    Paragraph 69 of the CFPB Complaint is further suggestive of a pattern and

  practice of unlawful behavior:

         “Ocwen’s use of inaccurate and incomplete information resulting from its
         boarding of inaccurate and incomplete information into REALServicing,
         REALServicing’s deficiencies, and Ocwen’s error-prone manual processes has
         caused or is likely to have caused borrowers substantial harm, and resulted in

                                                   40
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 41 of 58 PageID #: 1748




         Ocwen communicating, orally and in writing, information to borrowers that it
         knew or had a reason to know was inaccurate.”

         277.     On February 5, 2015, Ocwen was sued by Monette E. Saccameno in the

  United States District Court for the Northern District of Illinois (Case No. 1:15-cv-01164) under

  nearly identical facts as set forth herein. That case, concluded on June 21, 2018, resulted in

  punitive damages being assessed against Ocwen for its abhorrent and continued pattern of

  conduct.

         278.     On October 27, 2014, Ocwen was sued by Keith Snyder in the United States

  District Court for the Northern District of Illinois (Case No. 1:14-cv-08461) for widespread

  violations of the TCPA, pre-dating the allegations contained herein. Though the terms were

  recently rejected by the Court, the parties had reached a tentative settlement agreement involving

  calls made to approximately 1,685,757 different cellphone numbers using auto-dialers and/or

  pre-recorded messages.

                                      COUNTS I: Breach of Contract
                                        (Against Deutsche Bank)

         279.     Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

         280.     The Loan is an enforceable contract between Todd and Deutsche Bank, and

  Ocwen as the servicer of the loan acted as the agent of Deutsche Bank.

         281.     A true and accurate copy of the Note and Mortgage are attached hereto as

  “Exhibit DD”.

         282.     Deutsche Bank, by its own acts and omissions and by the acts and omissions of its

  agent, Ocwen, is in material breach of the Loan in the following respects: (i) Failure to accept

  Todd’s mortgage payments; (ii) failure to credit and apply Todd’s payments as contractually



                                                   41
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 42 of 58 PageID #: 1749




  obligated; (iii) assessment of unauthorized and unreasonable late fees, legal fees, costs, and

  property inspection fees; (iv) placing the loan in default and inaccurately reporting the same to

  credit reporting agencies; and (v) their general failure to conduct their affairs in good faith.

          283.      Todd has fully performed his obligations pursuant to the Loan.

          284.      Todd has not excused or waived Deutsche Bank’s obligations to perform pursuant

  to the Loan.

          285.      Deutsche Bank, by its own acts and omissions and by the acts and omissions of its

  agent, Ocwen, has failed to exercise due care in the servicing of the Loan and owed Todd a duty

  to handle escrow properly, to adjust payments to recover escrow shortage and to provide him

  notice of any such shortage. Deutsche Bank, by its own acts and omissions and by the acts and

  omissions of its agent, Ocwen, breached that duty to Todd and acted in an oppressive and

  abusive manner by declining to apply Todd’s tender of payments unfairly, in bad faith and

  without reason and by otherwise misapplying those payments.

          286.      Deutsche Bank’s acts and omissions have caused Todd concrete actual damage

  and injury as set forth the preceding allegations.

                                   COUNT II: Violations of the TCPA
                                         (Against Ocwen)

          287.      Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

          288.      Ocwen and/or its affiliates, agents, and/or other persons or entities acting on its

  behalf, placed non-emergency phone calls to Todd’s cellphone using an automatic telephone

  dialing system, and/or pre-recorded or artificial voice in violation of 47 U.S.C. § 227

  (b)(1)(A)(iii).




                                                      42
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 43 of 58 PageID #: 1750




         289.    These calls occurred on or after October 7, 2017, and continued through

  December of 2018.

         290.    Ocwen and/or its affiliates, agents, and/or other persons or entities acting on its

  behalf, made these calls despite having knowledge that no consent had been given.

         291.    In addition, or in the alternative, Ocwen and/or its affiliates, agents, and/or other

  persons or entities acting on its behalf, continued placing these calls despite Todd’s demand they

  stop and despite his revocation of any alleged consent.

         292.    As a result of the foregoing acts and violations, Todd is entitled to an award of

  $500.00 in statutory damages for each and every call placed in violation of 47 U.S.C. § 227

  (b)(1)(A)(iii) pursuant to 47 U.S.C. § 227(b)(3)(B).

         293.    In the alternative, as result of the foregoing willful and knowing violations of the

  TCPA, Todd is entitled to an award of up to $1,500.00 in statutory damages for each and every

  call placed in violation of 47 U.S.C. § 227 (b)(1)(A)(iii) pursuant to U.S.C. § 227(b)(3).

                                  COUNT III: Violations of the RESPA
                                          (Against Ocwen)

         294.    Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

         295.    By its acts and omissions, Ocwen has numerous times and in numerous different

  ways violated the RESPA with respect to the Loan, including, but in no way limited to, those of

  which it was notified, each time it did any of the following: (i) failed to apply payments as

  contractually obligated as set forth in 12 C.F.R. § 1024.35(b)(1); (ii) failed to provide a payoff

  statement within seven business days as required by 12 C.F.R. 1024.36(d)(2); (iii) failed to

  provide an accurate payoff statement as required by 1026.36(c) of Reg. Z and 12 C.F.R.

  1024.35(b)(6); (iv) failed to perform an escrow analysis in violation of 12 C.F.R. § 1024.17(c)

                                                   43
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 44 of 58 PageID #: 1751




  and 12 U.S.C. § 2609(a); (v) imposed improper and unreasonable fees as set forth in 12 C.F.R. §

  1024.35(B)(5); (vi) failed to adequately investigate or respond to NOE No. 1, or correct errors in

  violation of 12 C.F.R. § 1024.35(e); (vii) failed to adequately respond to RFI No. 1; (viii) failed

  to acknowledge receipt of NOE No. 1 within five business days as required by 12 C.F.R. §

  1024.36(d)(2); (ix) failed to promptly credit payments made by Todd (during and after

  bankruptcy), instead placing them in suspense for extended periods of time, in violation of Reg.

  Z, 12 C.F.R. § 1026.36(c)(1) and/or 15 U.S.C. § 1639f; (x) failed to send Interest Rate and/or

  Payment Change Notices in violation of Reg. Z, 12 C.F.R. 1026.20(c) & (d); (xi) failed to

  acknowledge receipt of NOE No. 2 within five business days as required by 12 C.F.R. §

  1024.36(d)(2); (xii) increased Todd’s principal balance; (xiii) failed to appropriately investigate

  the errors identified in NOE No. 1 and NOE No. 2; and (xiv) mismanaged Todd’s escrow

  account.

         296.    12 C.F.R. § 1024.35(a) provides that a “servicer shall comply with the

  requirements of this section for any written notice from the borrower that asserts an error and

  that includes the name of the borrower, information that enables the servicer to identify the

  borrower's mortgage loan account, and the error the borrower believes has occurred.”

         297.    Comment 1 of the CFPB’s Official Interpretations of 12 C.F.R. §1024.35(a)

  provides that “[a] notice of error is submitted by a borrower if the notice of error is submitted by

  an agent of the borrower.”

         298.    12 C.F.R. § 1024.35(e)(1) provides that a servicer must respond to a notice of

  error by either “[c]orrecting the error or errors identified by the borrower and providing the

  borrower with a written notification of the correction, the effective date of the correction, and

  contact information, including a telephone number, for further assistance” or “[c]onducting a



                                                   44
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 45 of 58 PageID #: 1752




  reasonable investigation and providing the borrower with a written notification that includes a

  statement that the servicer has determined that no error occurred, a statement of the reason or

  reasons for this determination, a statement of the borrower's right to request documents relied

  upon by the servicer in reaching its determination, information regarding how the borrower can

  request such documents, and contact information, including a telephone number, for further

  assistance.”

         299.      Ocwen failed to correct specifically detailed errors or conduct a reasonable

  investigation.

         300.      NOE No. 1, NOE No. 2, NOE No. 3, and NOE No. 4, each meet the requirements

  of a notice of error as defined by 12 C.F.R. § 1024.35(a).

         301.      Todd has alleged by and through NOE No. 1, NOE No. 2, NOE No. 3, and NOE

  No. 4, that Ocwen has committed in numerous distinct errors pursuant to 12 C.F.R.

  §1024.35(b)(2) by failing to provide all of the information and/or documentation requested by

  and through the Requests for Information submitted and its failure to investigate or correct the

  multiple servicing errors raised.

         302.      Ocwen’s actions are a pattern and practice of behavior in conscious disregard for

  the rule of law and Todd’s rights.


                          COUNT IV: Violation of the FDCPA, 15 U.S.C. §1692k
                                          (Against Ocwen)

         303.      Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

         304.      Todd is a “consumer” as defined by 15 U.S.C. § 1692a(3).




                                                    45
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 46 of 58 PageID #: 1753




         305.    Ocwen took the actions described above in an attempt to collect a debt

  represented by the Loan.

         306.    Ocwen violated 15 U.S.C. §1692(e)(2) when they repeatedly misrepresented the

  character, amount, or legal status of the Loan. Ocwen misrepresented to Todd that he was in

  default on the Loan and that he was obligated to maintain an escrow account for the Loan in an

  incorrect amount that Ocwen knew or had reason to know was in contravention of the terms of

  the Loan.

         307.    Ocwen violated 15 U.S.C. §1692(e)(5) by threatening to take an action –

  commence foreclosure proceedings against Todd – that cannot legally be taken as Todd has fully

  satisfied any and all obligations under the terms of the Loan.

         308.    Ocwen violated 15 U.S.C. §1692(e)(10) when they used false representations,

  through false Loan statements that the Loan was past-due and in default and deceptive means to

  attempt to collect the Loan.

         309.    Ocwen violated 15 U.S.C. §1692f(1) by attempting to collect and collecting

  amounts (including interest, fees, charges, or expenses incidental to the principal obligation) that

  were not expressly authorized by the Loan or permitted by law via the Bankruptcy Case or

  Chapter 13 Discharge by (i) misrepresenting the status of the debt; (ii) attempting to collect fees

  and costs for which notice was not provided in the Bankruptcy Case; (iii) misrepresenting

  amounts owed for escrow; (iv) declaring the loan in delinquent or default status; (v) threatening

  foreclosure; (vi) assessing improper fees; (vii) assessing escrow overdraft charges and improper

  corporate advances in restatement letters and payoff letters; and (viii) reporting false information

  by reporting the loan delinquent to the credit bureaus.




                                                   46
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 47 of 58 PageID #: 1754




         310.    Ocwen violated 15 U.S.C. §1692(d) by employing an unfair and unconscionable

  means to collect the subject debt including but not limited to its harassing calls and letters.

         311.    Todd has been harmed by, and continues to suffer from harm resulting from, the

  unfair and deceptive practices of Ocwen in wrongfully breaching the Loan and in making

  misrepresentations to further effectuate their wrongdoing.

           COUNT V:        Violation of the Fair Credit Report Act, 15 U.S.C.A. § 1681c-1
                                           (Against Ocwen)

         312.    Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

         313.    Sometime in August of 2018, Todd obtained a copy of his consumer credit report as

  published by Experian.

         314.    The report contained inaccurate information provided by Ocwen. Specifically, the

  Experian credit report reflected that the Loan was past due in the amount of $993, that the term of

  the Loan was “31 years” and that its balance as of July 2018 was $46,959.00.

         315.    Ocwen’s reporting was also inaccurate and misleading because it does not comply

  with the CDIA’s Metro 2 Standards.

         316.    Failure to adhere to the Metro 2 format, and/or the failure to follow the guidance of

  regulatory and industry sources, such as the CDIA, is evidence of willfulness of an FCRA violation

  under 15 U.S.C. § 1681n(a). See Gillespie v. Experian Info. Servs., LLC., No. 05C138, 2008 WL

  4316950 (N.D. Ill. Sept. 15, 2008).

         317.    In a letter dated August 27, 2018, Todd disputed the inaccurate and misleading

  information to Experian and advised Experian of the specific facts that rendered the reporting

  inaccurate and misleading. A copy of the dispute letter is attached hereto as “Exhibit EE”.

         318.    Todd also disputed the inaccurate and misleading information in NOE No.1.

                                                   47
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 48 of 58 PageID #: 1755




            319.   Pursuant to 15 U.S.C. § 1681i, Experian had a duty to notify Ocwen of Todd’s

  dispute within five business days of receiving Todd’s dispute, to forward all relevant information

  and any documents included with Todd’s dispute for Ocwen to review, to conduct a reasonable

  reinvestigation of the disputed information, and to thereafter correct the tradeline or delete it from

  Todd’s consumer file.

            320.   Experian timely notified Ocwen of Todd’s dispute in accordance with 15 U.S.C.A. §

  1681i .

            321.   In response, within a document dated September 6, 2018, Experian advised Todd

  that it had researched his dispute, obtained additional information from Ocwen, and that per Ocwen

  the status was being reporting correctly. However, Experian provided a copy of the tradeline as

  reported that reproduced the errors identified by Todd in his original dispute letter. Specifically, the

  tradeline still failed to indicate that the Loan was and is current and with no arrears. A copy of the

  Experian reinvestigation report is attached as “Exhibit FF”.

            322.   Ocwen had a duty to investigate the dispute and accurately report their findings to

  Experian.

            323.   In addition, following its receipt of NOE No. 1, Ocwen was not to report adverse

  payment information to any credit reporting agency pursuant to 12 C.F.R. § 1024.35(i).

            324.   As a result of the foregoing, Ocwen willfully violated 15 U.S.C.A. § 1681s-2(b) by

  failing to conduct a reasonable investigation upon receiving notice of Todd’s dispute directly and

  from Experian, and/or by failing to review all relevant information provided by the consumer

  reporting agencies, and/or by failing to appropriately report the results of its investigations, and/or

  by failing to appropriately modify, and/or delete the inaccurate information.




                                                     48
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 49 of 58 PageID #: 1756




          325.    As a result of Ocwen’s violation of 15 U.S.C.A. § 1681s-2(b), Todd has suffered

  actual damage including but not limited to emotional distress (including aggravation, anxiety, and

  loss of rest), the continued suppression of his FICO credit score, loss of time, loss of credit

  opportunity, an informational injury, certain out of pocket expenses incurred while trying to obtain

  corrections after his initial dispute, and a guarantee of further future financial harm if the

  information is not corrected. Therefore, Todd is entitled to recover actual damages under 15

  U.S.C.A. § 1681n and 1681o.

          326.    Ocwen’s actions and omissions were willful, and caused Todd concrete injury as set

  forth above, rendering it liable for punitive damages and statutory damages pursuant to 15 U.S.C.A.

  § 1681n.

      COUNTS VI, VII, & VIII: Violation of the Discharge Injunction, 11 U.S.C. § 524(i),
                  Automatic Stay, & Fed. R. Bankr. P. Rule 3002.1(G)

          327.    Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

          328.    As evidence by the Life of Loan History, and despite its attestations to the

  contrary, Ocwen seeks to collect upon alleged escrow deficiencies, charges, or other amounts

  existing previous to discharge.

          329.    Where, as here, a debtor performs under a confirmed Chapter 13 Plan and makes

  all required post-petition payments, said debtor must be current – unless there has been a

  misapplication of payments or other error committed by the secured creditor.

          330.    Todd fully performed under his confirmed Chapter 13 Plan and made all

  post-petition payments as required.

          331.    Despite Todd having fulfilled all obligations of the Bankruptcy Case,




                                                      49
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 50 of 58 PageID #: 1757




  Ocwen has collected, and continues to seek to collect upon, alleged debt obligations predating

  and in contravention of the Order of Discharge.

          332.    Any alleged escrow deficiency, fees, or amounts claimed to be due, is the result of

  Ocwen’s own failure to perform an annual escrow analysis, apply payments as contractually and

  legally obligated, or provide notice to the Trustee during the Bankruptcy Case as required by

  Fed. R. Bankr. P. Rule 3002.1(g).

          333.    Ocwen’s actions are a willful and ongoing attempt to collect a discharged debt

  and otherwise frustrate the purpose of the Order of Discharge.

          334.    Ocwen’s conduct constitutes a gross violation of the discharge injunction as it had

  actual knowledge that Todd was previously involved in bankruptcy, was to be deemed

  contractually current, that certain fees were disallowed, and thereafter protected from any direct

  or indirect collection actions for discharged debts. See Ridley v. M & T Bank (In re Ridley), 572

  B.R. 352 (Bankr. E.D. Okla. 2017).

          335.    Ocwen’s actions were willfull and caused Todd concrete injury as set forth above,

  rendering it liable for punitive damages. This Court has authority to enter sanctions for such

  conduct. See, e.g. Romanucci & Blandin, LLC. v. Lempesis, 2017 WL 4402643, at 6-7 (N.D. Ill.

  May 4, 2017); see, also, 3 William L. Norton Jr. & William L. Norton III, Norton Bankrutpcy Law

  and Practice § 58:2 (3d ed. 2017) (“A majority of courts also allow punitive damages in appropriate

  cases for a violation of the discharge injunction although, unlike the statue governing violations of

  the automatic stay, punitive damages are not specifically mentioned in Code § 524.6”).

          336.    Todd alleges that in order to carry out this provision of the Bankruptcy Code and

  maintain its integrity, vital to the protection of Chapter 13 debtors who have paid as required, this

  Court must permit a punitive damage instruction and impose other sanctions against Ocwen for its



                                                    50
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 51 of 58 PageID #: 1758




  willful, blatant, and continued disregard for the rule of law and the authority of the United States

  Bankruptcy Court.

            COUNT IX: Violation of the Truth In Lending Act, 15 U.S.C. §1601, et seq
                                  (Against Deutsche Bank)

          337.     Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

          338.     Todd asserts a private right of action under 15 U.S.C. § 1640(a) for: i) Deutsche

  Bank’s breach of its duty to send interest rate and payment change notices pursuant to 15 U.S.C.

  § 1638a and Reg. Z, 12 C.F.R. § 1026.20(c) and (d); ii) Deutsche Bank’s breach of its duty to

  promptly credit payments pursuant to 15 U.S.C. § 1639f and Reg. Z, 12 C.F.R. § 1026.36(c)(1);

  and iii) Deutsche Bank’s breach of its duty to send periodic mortgage statements pursuant to 15

  U.S.C. § 1638(f) and Reg. Z, 12 C.F.R. § 1026.41.

                       Failure to Provide Accurate Periodic Mortgage Statements

          339.     12 C.F.R. §1026.41(a) requires that a servicer must provide the consumer a

  periodic statement meeting the requirements of 12 C.F.R. §1026.41 for each billing cycle of the

  transaction.

          340.     12 C.F.R. §1026.41(d) provides that the required periodic billing statements shall

  include information including the amount due, an explanation of the amount due, delinquency

  information, and account information including the current outstanding principal balance and

  interest rate.

          341.     From approximately November of 2017 through today, Ocwen acting on behalf of

  Deutsche Bank, failed to provide accurate periodic billing statements to Todd in violation of 15

  U.S.C. § 1639f .




                                                    51
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 52 of 58 PageID #: 1759




         342.    The knowing failure to transmit accurate information through the periodic billing

  statements wholly defeated the purpose of such statements, that is, to properly provide accurate

  disclosures to Todd of his obligation on the Loan.

         343.    Deutsche Bank’s actions in causing or otherwise facilitating these monthly

  statements to be sent out with facially inaccurate information are a violation of TILA.

                                 Failure to Promptly Credit Payments

         344.    15 U.S.C. § 1639f (a) provides that, "[i]n connection with a consumer credit

  transaction secured by a consumer's principal dwelling, no servicer shall fail to credit a payment

  to the consumer's loan account as of the date of receipt, except when a delay in crediting does not

  result in any charge to the consumer."

         345.    Ocwen, acting on behalf of Deutsche Bank, has failed to credit payments (made

  directly and via disbursements made by the Trustee) to the Loan as of the date of receipt and the

  its delay in crediting those payments has resulted in charges to Todd.

         346.    12 C.F.R. §1026.36(c)(1)(ii) provides that if a servicer retains a partial payment

  in a suspense or unapplied funds account (rather than credits or returns it), then the servicer must

  (1) disclose on the periodic statement the total amount retained in such suspense or unapplied

  funds account and (2) when sufficient funds accumulate to cover a full payment, promptly credit

  the retained funds to the oldest outstanding payment

         347.    Ocwen, acting on behalf of Deutsche Bank, has failed to properly disclose

  amounts held in suspense or, when sufficient funds accumulated to cover one of his full

  payments, promptly credit the retained funds to the oldest outstanding payment.

         348.    The Loan was deemed current by an order of the bankruptcy court in his prior

  bankruptcy case, Todd has made every payment after that, yet Ocwen has refused to



                                                   52
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 53 of 58 PageID #: 1760




  acknowledge that his loan is current or appropriately apply his payments. “[Todd has] also

  alleged that the amounts that [Ocwen] told him would cure his ‘defaults’ ranged from

  [$3,345.95] in October of [2017] to [$7,000] as of August of [2018].” In re Cawood, 577 B.R.

  538 (Bankr. E.D. Tenn., Sept. 29, 2017).

                      Failure to Send Payment Change and Interest Rate Notices

         349.    15 U.S.C.A. § 1638b states, “During the 1-month period that ends 6 months

  before the date on which the interest rate in effect during the introductory period of a hybrid

  adjustable rate mortgage adjusts or resets to a variable interest rate or, in the case of such an

  adjustment or resetting that occurs within the first 6 months after consummation of such loan, at

  consummation, the creditor or servicer of such loan shall provide a written notice, separate and

  distinct from all other correspondence to the consumer, that includes the following: (1) Any

  index or formula used in making adjustments to or resetting the interest rate and a source of

  information about the index or formula; (2) an explanation of how the new interest rate and

  payment would be determined, including an explanation of how the index was adjusted, such as

  by the addition of a margin; (3) a good faith estimate, based on accepted industry standards, of

  the creditor or servicer of the amount of the monthly payment that will apply after the date of the

  adjustment or reset, and the assumptions on which this estimate is based; (4) a list of alternatives

  consumers may pursue before the date of adjustment or reset, and descriptions of the actions

  consumers must take to pursue these alternatives, including – (A) refinancing, (B) renegotiation

  of loan terms, (C) payment forbearances, and (D) pre-foreclosure sales; (5) the names, addresses,

  telephone numbers, and Internet addresses of counseling agencies or programs reasonably

  available to the consumer that have been certified or approved and made publicly available by

  the Secretary of Housing and Urban Development or a State housing finance authority (as



                                                    53
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 54 of 58 PageID #: 1761




  defined in section 1441a-1 of Title 12); and (6) the address, telephone number, and Internet

  address for the State housing finance authority (as so defined) for the State in which the

  consumer resides.

         350.    12 C.F.R. § 1026.20(c) requires that a creditor, assignee, or servicer of an

  adjustable-rate mortgage shall provide consumers with disclosures, as described in this paragraph

  (c), in connection with the adjustment of interest rates pursuant to the loan contract that results in

  a corresponding adjustment to the payment.

         351.    Section 1026.20(c)(1)(i) defines an adjustable rate mortgage as, “a closed-end

  consumer credit transaction secured by the consumer’s principal dwelling in which the annual

  percentage rate may increase after consummation.”

         352.    The Home is Todd’s principal dwelling.

         353.    The Loan is an adjustable rate mortgage.

         354.    Deutsche Bank, via its agent Ocwen, failed to provide Todd with notice before

  making changes to the principal and interest portions of his monthly payment obligations as

  further described herein.

         355.    Deutsche Bank’s actions are a pattern and practice in conscious disregard of the

  rule of law and Todd’s rights as a borrower.

         356.    Deutsche Bank’s failure to provide notice caused Todd emotional distress,

  including but not limited to confusion, an informational injury, and deprived him of the benefit

  of portions of his monthly payments made in excess of what was owed to pay down his principal

  balance.

     COUNT X: Violation of Indiana’s Crime Victim’s Relief Act § 34-24-3-1(Conversion)
                                    (Against Ocwen)




                                                   54
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 55 of 58 PageID #: 1762




          357.   Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

          358.   The Indiana Crime Victim’s Relief Act (“ICVRA”) provides relief to persons who

  suffer a pecuniary loss based on violation(s) of the provisions of Article 43 of Indiana’s Criminal

  Code. A criminal conviction is not necessary to maintain an action under the ICVRA; rather, the

  plaintiff need only prove a violation of the relevant criminal prohibition by a preponderance of

  evidence in order to pursue civil penalties against the defendant under the act. See Meridian

  Financial Advisors, Ltd. v. Pence, 763 F. Supp. 2d 1046, 1060 (S.D. Ind. 2011).

          359.   “A person who knowingly or intentionally exerts unauthorized control over

  property of another person” commits Conversion under Indiana Code § 35-43-4-2(b).

          360.   Ocwen has knowingly or intentionally exerted unauthorized control over funds

  rightfully belonging to Todd in the amounts of: (i) $1,944.12 (on July 6, 2015); and (ii) $402.90

  (on July 22, 2015).

          361.   Ocwen had no legal right or claim to the amounts described above nor can it

  account for them.

          362.   Ocwen has failed or refused to return the funds to Todd or apply them to the

  Loan.

          363.   As a result of Ocwen’s conversion, Todd was damaged and seeks an award

  of actual damages, treble damages, costs and attorney's fees as set forth by the Indiana Crime

  Victim's Act, Indiana Code § 34-24-3-1.

    COUNT XI: Violation of the Ind. Deceptive Consumer Sales Act, I.C. § 14-5-0.5, et seq
                                     (Against Ocwen)

          364.   Todd incorporates by reference and restates as though fully set forth herein all

  previous allegations of the Complaint.

                                                  55
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 56 of 58 PageID #: 1763




         365.    The Indiana Deceptive Consumer Sales Act (“DCSA”) is a consumer protection s

  statute designed to “protect consumers from suppliers who commit deceptive and

  unconscionable acts.”

         366.    Todd is a consumer, the Loan and servicing of the Loan is a consumer

  transaction, and Ocwen is a supplier as defined by I.C. 24-5-0.5-3(A)(3), I.C. 24-5-0.5-2(a)(1),

  and I.C. 24-5-0.5-2(a)(1)(A)-(C).

         367.    Ocwen has contractual privity with Todd as a partial assignee of the Loan. It

  has been assigned and has agreed to undertake obligations for servicing the Loan.

         368.    Ocwen has committed willful unfair and deceptive acts, both uncured and

  incurable, via the conduct alleged herein including but not limited to claiming amounts to be due

  which were not, by assessing fees and charges improperly, and by declaring a default and

  initiating the Foreclosure Case when there was not a legitimate basis to do so.

         369.     Ocwen provided notice to Ocwen of its willful unfair and deceptive acts via NOE

  No. 1, NOE No. 2, NOE No. 3, NOE No. 4, and his various other attempts to have Ocwen

  correct the issued identified herein.

         370.    Ocwen has failed to cure its willful unfair and deceptive acts despite receiving

  notice, as set forth above.

                                          PRAYER FOR RELIEF

        WHEREFORE, Todd prays for the entry of judgment in his favor and against Defendants

  for the following:

         a.      For an Order of Contempt;




                                                  56
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 57 of 58 PageID #: 1764




        b.        For actual damages, including emotional distress, interest, plus all costs and

        reasonable attorney fees against Ocwen for the allegations contained in Counts II, III, IV,

        V, VI, VII, and VIII;

        c.        For actual damages, including emotional distress, interest, plus costs and

        reasonable attorney fees against Deutsche Bank for the allegations contained in Counts I

        and IX.

        d.        For treble damages against Ocwen relative to the converted funds ($1,944.12 and

        $402.90) described in Count X.

        e.        For statutory damages of $2,000.00 against Ocwen for each and every violation

        contained in Count III;

        f.        For statutory damages of $1,000.00 against Ocwen for each and every violation

        contained in Count IV;

        g.        For statutory damages of $4,000.00 against Deutsche Bank for each and every

        violation contained in Count IX;

        h.        For statutory damages of $1,000.00 against Ocwen for each and every violation

        contained in Count V;

        i.        For statutory damages of no less than $500.00 but no greater than $1,500.00

        against Ocwen for each and every violation contained in Count II;

        j.        For punitive damages against Ocwen for the violations set forth in Counts V, VI,

        VII, and VIII;

        k.        For three times actual damages against Ocwen for the violations set forth in Count

        XI;

        l.        For all other relief deemed just and proper.



                                                   57
Case 2:19-cv-00085-JMS-DLP Document 40 Filed 08/13/19 Page 58 of 58 PageID #: 1765




                                          JURY DEMAND

         Plaintiff, Roger Todd, by counsel, hereby respectfully demands a trial by jury on all such

  claims that may be so tried.


                                               Respectfully submitted,

                                               /s/Travis W. Cohron
                                               Mike Maxwell, No. 10875-49
                                               Travis W. Cohron, No. 29562-30
                                               CLARK, QUINN, MOSES, SCOTT & GRAHN, LLP
                                               320 N. Meridian Street, Suite 1100
                                               Indianapolis, IN 46204
                                               Telephone: (317) 637-1321
                                               Fax: (317) 687-2344
                                               mmaxwell@clarkquinnlaw.com
                                               tcohron@clarkquinnlaw.com
                                               Counsel for the Plaintiff

                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 13, 2019, a copy of the foregoing was filed electronically.
  Notice of this filing will be made on all ECF-registered counsel by operation of the Court’s
  electronic filing system. Parties may access this filing through the Court’s system.

  David M. Schultz
  Joseph D. Kern
  HINSHAW & CULBERTSON
  dshultz@hinshawlaw.com
  dkern@hinshawlaw.com
  Counsel for Defendants


                                               /s/ Travis W. Cohron
                                               Mike Maxwell, No. 10875-49
                                               Travis W. Cohron, No. 29562-30

  CLARK, QUINN, MOSES, SCOTT & GRAHN, LLP
  320 N. Meridian Street, Suite 1100
  Indianapolis, IN 46204
  Telephone: (317) 637-1321
  mmaxwell@clarkquinnlaw.com
  tcohron@clarkquinnlaw.com

                                                  58
